        Case:17-11810-MER Doc#:53 Filed:09/03/17                              Entered:09/03/17 22:37:44 Page1 of 3
                                               United States Bankruptcy Court
                                                   District of Colorado
In re:                                                                                                     Case No. 17-11810-MER
Judith Jean Schneider                                                                                      Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 1082-1                  User: cosior                       Page 1 of 1                          Date Rcvd: Sep 01, 2017
                                      Form ID: 225                       Total Noticed: 2


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Sep 03, 2017.
db             +Judith Jean Schneider,   4316 East 113th Place,   Thornton, CO 80233-2609

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg             E-mail/Text: cio.bncmail@irs.gov Sep 02 2017 00:20:50     IRS,   600 17th St.,   Stop 5027 DEN,
                 Denver, CO 80202
                                                                                            TOTAL: 1

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Sep 03, 2017                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on September 1, 2017 at the address(es) listed below:
              Chapter 13 Trustee - Zeman    on behalf of Trustee Sally Zeman mail@ch13colorado.com
              Michael J. Watton    on behalf of Debtor Judith Jean Schneider wlgdnvr@wattongroup.com
              Sally Zeman     mail@ch13colorado.com, szeman@ecf.epiqsystems.com
              Thomas A. Arany    on behalf of Debtor Judith Jean Schneider jdrewicz@wattongroup.com
              US Trustee   USTPRegion19.DV.ECF@usdoj.gov
                                                                                             TOTAL: 5
Case:17-11810-MER Doc#:53 Filed:09/03/17                           Entered:09/03/17 22:37:44 Page2 of 3
  (COB #225 voconf13planbapcpa)(06/07)




                      IN THE UNITED STATES BANKRUPTCY COURT
                                             District of Colorado,
                                          HONORABLE Michael E. Romero

  In re:
                  Judith Jean Schneider

  Debtor(s)
                                                               Case No.:      17−11810−MER
                                                               Chapter:       13
  SSN/TID
  Nos.    xxx−xx−0318


                                  ORDER CONFIRMING AMENDED CHAPTER 13 PLAN

     IT HAVING BEEN DETERMINED AFTER NOTICE AND A HEARING:


           1. That the Plan complies with Chapter 13 and all other applicable provisions of Title 11, United
              States Code;
           2. That any fee, charge, or amount required under Chapter 123 of Title 28, United States Code, or
              by the Plan, to be paid before confirmation has been paid;
           3. That the action of the debtor(s) in filing the petition was in good faith;
           4. That the Plan has been proposed in good faith and not by any means forbidden by law;
           5. That the value, as of the effective date of the Plan, of property to be distributed under the Plan on
              account of each unsecured claim is not less than the amount that would be paid on such claim if
              the estate of the debtor(s) were liquidated under Chapter 7 of Title 11, United States Code on
              such date; and
           6. That the Plan complies with the provisions of 11 U.S.C. §1325(a)(5) as to holders of secured
              claims.
           7. That pending motions for valuation of real property collateral and determination of secured status
              under U.S.C. § 506 have been provided for by separate court order, if applicable.

  IT IS ORDERED:

           The Debtor(s)' AMENDED Plan filed on 07/24/2017 at (docket no. 49 ) is confirmed;
           The Debtor(s) shall make payments in accordance with the terms of the Plan.

       Creditors holding liens on property which the Plan specifies is to be surrendered by the Debtor(s) are
  hereby granted relief from the stay imposed by 11 U.S.C. §362 and may enforce their rights in and to said
  property.

       The assumption of executory contracts on the terms stated in the Plan is approved. If the plan
  provides for the rejection of an executory contract or unexpired lease, the party to the rejected executory
  contract or lease must file a proof of claim within 30 days of the date of the entry of this Order, failing
  which the claim may be barred.

           Any hearing on confirmation is VACATED.

       This order binds those creditors and parties in interest that have been served in accordance with
  applicable rules.


  Dated: 9/1/17                                             BY THE COURT:
Case:17-11810-MER Doc#:53 Filed:09/03/17   Entered:09/03/17 22:37:44 Page3 of 3
                                     s/ Michael E. Romero
                                     Chief United States Bankruptcy Judge
